Case 2:07-cv-03190-RSWL-AJW Document 451 Filed 05/10/18 Page 1 of 2 Page ID #:7118



 1
 2
 3
 4
 5
 6
 7
 8                    UNITED STATES DISTRICT COURT
 9                  CENTRAL DISTRICT OF CALIFORNIA
10
11 JOHN YOUNG,                          )   CV 07-03190-RSWL-AJWx
                                        )
12                  Plaintiff,          )
                                        )
13                  v.                  )   AMENDED JUDGMENT
                                        )
14 ARON WOLFE; and ROBERTO              )
   OCHOA,                               )
15                                      )
                Defendants.             )
16                                      )
17       WHEREAS, this Action came on regularly for trial on
18 March 21, 2017, in Courtroom 6C of the United States
19 District Court for the Central District of California,
20 the Honorable Ronald S.W. Lew, presiding, Plaintiff
21 John Young (“Plaintiff”) appearing by and through his
22 attorney of record, Jeff Dominic Price, and Defendant
23 Aron Wolfe appearing by and through his attorneys of
24 record, Tomas A. Guterres and Christie Bodnar Swiss, of
25 Collins Collins Muir + Stewart, LLP.               The jury awarded
26 Plaintiff $350,000.00 in total damages.                On April
27 18, 2018, the parties and County of Los Angeles filed a
28 stipulation requesting a complete resolution of the
                                        1
Case 2:07-cv-03190-RSWL-AJW Document 451 Filed 05/10/18 Page 2 of 2 Page ID #:7119



 1 total amount of the judgment, interest, and award of
 2 costs and attorney’s fees, in the form of a judgment
 3 against the County of Los Angeles, in the total amount
 4 of $583,197.79, inclusive of all damages, interest,
 5 attorney’s fees, and costs, and sealing of the
 6 attorney’s fees motion and related documents, CM/ECF
 7 Document Numbers 409, 412, 415, 416, and 421 and pages
 8 3-34 of Document Number 424.              Further, pursuant to the
 9 parties’ stipulation, the global resolution and
10 complete satisfaction of the judgment does not
11 constitute and shall not be deemed as an admission of
12 liability, including any act, omission, or damages of
13 any party.      Pursuant to the stipulation of the parties,
14 and good cause appearing therefor,
15 IT IS ORDERED, ADJUDGED, AND DECREED that Plaintiff
16 shall have and recover from the County of Los Angeles
17 the total sum of $583,197.79, said amount to be
18 inclusive of all damages, interest, attorney’s fees,
19 and costs to be paid in accordance with the terms of
20 the Settlement Agreement dated March 8, 2018; the Clerk
21 shall seal the following documents: Document Numbers
22 409, 412, 415, 416, and 421 and pages 3-34 of Document
23 Number 424.
24 IT IS SO ORDERED.
25 DATED: May 10, 2018                   s/ RONALD S.W. LEW
26                                          HONORABLE RONALD S.W. LEW
                                            Senior U.S. District Judge
27
28
                                        2
